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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                               ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                           Case No. 1:04:CR:232
v.
                                                    HON. GORDON J. QUIST
LEWIS JASON ROBERTS,
MICHAEL STEPHEN TOTH
MARCOS LUIS VIDAL
BRENT MICHAEL VREELAND, and
BRADLEY JOSEPH HIESTAND,

            Defendants.
________________________________/

                                            ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed May 13, 2005, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendants’ pleas of guilty to Count 1 of the Indictment is accepted, and Defendant

Roberts’ plea of guilty to Count 21 is also accepted. Defendants are adjudicated guilty.

       3.      Defendants Vreeland and Hiestand shall be detained pending sentencing.

       4.      A decision of whether to accept the written plea agreements for Defendants Roberts,

Vidal, Vreeland, and Hiestand will be made at the time of sentencing after the Court has had the

opportunity to review the Presentence Investigation Report. See U.S.S.G. Ch. 6.


Dated: June 6, 2005                                       /s/ Gordon J. Quist
                                                         GORDON J. QUIST
                                                    UNITED STATES DISTRICT JUDGE
